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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS




 ESTADOS UNIDOS MEXICANOS,
               Plaintiff,

vs.                                     Civil Action No. 1:21-CV-11269-FDS

 SMITH & WESSON BRANDS, INC., et al.,
               Defendants.




           PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
             TO DEFENDANT BERETTA’S MOTION TO DISMISS
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                                         INTRODUCTION

          Plaintiff Estados Unidos Mexicanos (“the Government”) submits this opposition to the

separate motion to dismiss filed by Defendant Beretta U.S.A. Corp (“Beretta”) based on an

asserted lack of personal jurisdiction. For background facts, we refer to the Government’s

opposition to the joint motion to dismiss. Here, we address Beretta’s personal jurisdiction

argument.

          Massachusetts is the King of Guns1 and is referred to as “Gun Valley.”2 It has been

steeped in firearms manufacturing since 1777, when George Washington selected Springfield as

the site for the nation’s first arsenal.3 Recent estimates show that Massachusetts accounts for

one-quarter of all weapons manufactured in the United States, more than any other state.4

          Massachusetts is home to Defendant Smith & Wesson5 and two large, national gun

wholesalers, Defendant Interstate Arms and Camfour, Inc. Interstate Arms, based in Billerica, is

a “40+ year-old wholesaler distributor supplying licensed firearm dealers nationwide with

firearms and related products.”6 The company describes itself as a seller of, among other things,

“military-style weapons.”7 Camfour, Inc. (“Camfour”) is another national distributor. Founded in




1
    Declaration of Nicholas W. Shadowen (“Shadowen Decl.”), ¶ 20(c)(i).
2
    Shadowen Decl. ¶ 20(b).
3
    Id. ¶ 20(b)(i).
4
 Id. ¶ 20(c)(ii). In 2016, Massachusetts was ranked among the top 10 states for total economic
output for arms and ammunition in the U.S.; id. ¶ 20(a)(iii).
5
    Compl. ¶ 31.
6
    Shadowen Decl. ¶ 20(b)(i).
7
    Id. ¶ 18(b).



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Springfield, Massachusetts in 1952,8 it touts that it “revolutionized” the gun industry with the

development of its online order software that “enabled independent shooting sports retailers to

have instant access to a wealth of information, inventory and the ability to order 24 hours a day,

7 days a week.”9 The company is “consistently … ranked as one of the top 10 distributors in the

industry.”10 In addition to these major distributors, there are also nearly 4,000 licensed gun

dealers in Massachusetts. 11

          Beretta is a national firearms manufacturer that does business throughout the United

States, including very substantial business in Massachusetts. 12 Beretta intentionally directed its

commercial activities to this forum by regularly advertising and selling its guns here.13 Beretta

imposes its unlawful distribution policies—the policies about which the Government

complains—on gun distributors (wholesalers) and dealers in Massachusetts. 14 These include

distributor Interstate Arms and more than a dozen authorized Beretta dealers.15

          Gun manufacturers typically make the vast majority of their sales through distributors,

which then transfer the guns to the manufacturers’ authorized dealers.16 Beretta’s large

Massachusetts distributor Interstate Arms sells Beretta’s guns to Beretta’s authorized dealers




8
    Id. ¶ 19(a)(i).
9
    Id. ¶ 19(a)(iii).
10
     Id. ¶ 19(a)(vi).
11
     See Shadowen Decl. ¶ 20(d).
12
     See infra Section I(A)(1), (2).
13
     See id.
14
     Compl. ¶ 42.
15
     See infra Section I(A)(1).
16
     See infra Section I(A)(2).



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across the country.17 Consequently, the unlawful distribution policies that Beretta imposes on

distributors and dealers in Massachusetts control gun sales—including to straw purchasers and

other traffickers—not only in Massachusetts but throughout the nation.

          Specifically, the Complaint alleges that Beretta’s policies for Massachusetts distributors

and dealers resulted in guns that Beretta sold into Massachusetts “being trafficked into Mexico

and used in criminal activities there, causing the harm about which the Government

complains.”18 The Government’s expert report on this issue establishes that in the last ten years

approximately 5,000 to 17,000 of Beretta’s guns were trafficked from Massachusetts into

Mexico.19

          Beretta’s assertion that it is not subject to the personal jurisdiction of this Court is wrong.

The Court has specific jurisdiction over Beretta because it is within reach of Massachusetts’s

long-arm statute and due process dictates are satisfied.

          Beretta unquestionably transacted business in Massachusetts and “deliberately reached

out beyond its home” to “exploit[ ] a market in the forum State” and “enter[ ] a contractual

relationship centered there.”20 And the Government’s claims arise out of and relate to Beretta’s




17
     See id.
18
  Compl. ¶ 42. This paragraph of the Complaint specifically discusses sales from Beretta to
Interstate Arms, but others refer to distributors and dealers generally (e.g., id. ¶¶ 43, 193-195),
and the Complaint alleges that the “claims arise out of Defendants’ contacts with Massachusetts
[and] the Government’s claims relate to those contacts” (id. ¶ 44).
19
     See infra Section I(A)(2).
20
   Ford Motor Co. v. Montana Eighth Judicial District Court, 141 S. Ct. 1017, 1025 (2021)
(internal quotations and citation omitted).



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forum activities.21 Beretta’s conduct in this forum is clearly a “first step in a train of events that

result[ed] in the [relevant] injury,”22 and is a locus of the Government’s negligence claims.

          Beyond Beretta’s sufficient contacts here, this Court’s exercise of jurisdiction over

Beretta is entirely fair and reasonable. Massachusetts has a strong interest in assuring that Beretta

and other gun manufacturers properly monitor and discipline their Massachusetts distributors and

dealers. Moreover, litigating here provides the Government the convenience of a single forum

without imposing any constitutionally significant burden on Beretta. Avoiding piecemeal

litigation also serves judicial economy, ensuring both an efficient and consistent resolution of the

Government’s claims. Lastly, the Government and the United States share an interest in

curtailing the unlawful gun trafficking. The Government’s ability to seek redress for injuries

caused by Defendants’ negligence in a single forum is an important policy consideration that

further weighs in favor of the Court exercising jurisdiction. Given the centrality of Massachusetts

in the gun industry, this is a sensible place for this litigation.

          Beretta’s attempt to avoid appearing in Massachusetts fails, and its motion should be

denied. If, however, the Court were to harbor any doubt as to whether personal jurisdiction

exists, the Government respectfully requests discovery on the issue.


                                        LEGAL STANDARD

          When evaluating a motion to dismiss under Fed. R. Civ. P. 12(b)(2), “a district court

‘may choose from among several methods for determining whether the plaintiff has met [its]




21
  Id. (“The plaintiff’s claims … ‘must arise out of or relate to the defendant’s contacts’ with the
forum.”) (quoting Bristol-Myers Squibb Co. v. Superior Court of Cal., San Francisco Cty., 137
S. Ct. 1773, 1780 (2017)).
22
     See Lyle Richards Int’l, Ltd. v. Ashworth, Inc., 132 F.3d 111, 114 (1st Cir. 1997).



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burden.’”23 “Where, as here, a district court considers a motion to dismiss for lack of personal

jurisdiction without first holding an evidentiary hearing, the prima facie standard governs its

determination.”24

          The prima facie standard “requires no differential factfinding; rather . . . only that a

plaintiff proffer evidence which, taken at face value, suffices to show all facts essential to

personal jurisdiction.”25 That is, this Court “must accept the plaintiff’s (properly documented)

evidentiary proffers as true for the purpose of determining the adequacy of the prima facie

jurisdictional showing.”26

          And “‘[f]or the purpose of examining the merits of such a jurisdictional proffer,’ the

court considers ‘the facts from the pleadings and whatever supplemental filings (such as

affidavits) are contained in the record, giving credence to the plaintiff’s version of genuinely

contested facts.’”27 Properly documented facts proffered by Plaintiff must be accepted as true,

“whether or not disputed” and must be “[construed] in the light most congenial to the plaintiff’s




23
  Adelson v. Hananel, 510 F.3d 43, 48 (1st Cir. 2007) (quoting Daynard v. Ness, Motley,
Loadholt,Richardson & Poole, P.A., 290 F.3d 42, 50-51 (1st Cir. 2002)).
24
   Cioffi v. Gilbert Enterprises, Inc., 971 F. Supp. 2d 129, 133-34 (D. Mass. 2012) (Saylor, J.)
(quoting United States v. Swiss Am. Bank, Ltd., 274 F.3d 610, 618 (1st Cir. 2001)).
25
   Baskin-Robbins Franchising LLC v. Alpenrose Dairy, Inc., 825 F.3d 28, 34 (1st Cir. 2016);
see also Adelson, 510 F.3d at 48; Foster-Miller, Inc. v. Babcock & Wilcox Canada, 46 F.3d 138,
145 (1st Cir. 1995).
26
     Adelson, 510 F.3d at 48.
27
  Hernandez-Denizac v. Kia Motors Corp., 257 F.Supp. 3d 216, 220 (D. P . R. 2017) (quoting
Baskin-Robbins, 825 F.3d at 34).



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jurisdictional claim.”28 Here the Government has submitted the expert report of economist Lucy

Allen in support of the Complaint’s jurisdictional allegations.29

         To make a prima facie showing of personal jurisdiction here, the Government need only

show that the exercise of personal jurisdiction is “1) permitted by the Massachusetts long-arm

statute, M.G.L. c. 223A § 3, and 2) coheres with the Due Process Clause of the Fourteenth

Amendment of the United States Constitution by showing that each defendant has ‘minimum

contacts’ with Massachusetts.”30

         “Massachusetts’s long-arm statute, [Mass. Gen. Laws ch.] 223A, § 3, provides that ‘[a]

court may exercise personal jurisdiction over a person . . . as to a cause of action in law or equity

arising from the person’s one or more specific acts or omissions, as enumerated in the statute.”31

To establish jurisdiction under § 3(a) “transacting any business in this commonwealth,” a




28
  Mass. Sch. Of Law at Andover, Inc. v. Am. Bar Ass’n, 142 F.3d 26, 34 (1st Cir. 1998); see
also Packs v. Bartle, No. 18-CV-11496-ADB, 2019 WL 1060972, at *3 (D. Mass. Mar. 6, 2019)
(“The Court takes as true whatever properly documented facts plaintiffs proffer, construes those
facts in the light most favorable to the plaintiffs, and considers facts put forward by defendants to
the extent they are uncontradicted.”).
29
  To the extent the Government’s proffer is deemed insufficient, it requests permission to
conduct jurisdictional discovery as set forth below. See infra Section II(D).
30
   King v. Prodea Systems, Inc., 433 F. Supp. 3d 7, 12 (D. Mass 2019) (citing Daynard, 290 F.3d
at 52); see also Collision Communications, Inc. v. Nokia Solutions and Networks Oy, 485 F.
Supp. 3d 282, 290 (D. Mass 2020) (“Because the [Massachusetts] long-arm statute imposes
specific constraints on the exercise of personal jurisdiction that are not coextensive with the
parameters of due process ... a determination under the long-arm statute is to precede
consideration of the constitutional question.”) (quoting SCVNGR, Inc. v. Punchh, Inc., 485
N.E.3d 50, 52 (Mass. 2017)).
31
     SCVNGR, Inc. v. Punchh, Inc., 85 N.E.3d 50, 54-55 (Mass. 2017).



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plaintiff must show that “1) the defendant attempted to participate in the Commonwealth’s

economic life and 2) the transaction of business was a ‘but for’ cause of the alleged harm.”32

          Due process requirements are satisfied when the defendant has “certain minimum

contacts with [the forum] such that the maintenance of the suit does not offend ‘traditional

notions of fair play and substantial justice.’”33 Personal jurisdiction may be general or specific.34

The nature and quantity of forum-state contacts needed to satisfy due process differ depending

on which of these is asserted over the defendant.35 The Government contends that this Court has

specific jurisdiction over Beretta.

          For a court to exercise specific jurisdiction, the suit “must arise out of or relate to the

defendant’s contacts” with the forum.36 “Or put just a bit differently, ‘there must be an affiliation

between the forum and the underlying controversy, principally, [an] activity or an occurrence

that takes place in the forum State and is therefore subject to the State’s regulation.’”37




32
  Perras v. Trane U.S., Inc., 463 F. Supp. 3d. 38, 42 (D. Mass 2020) (citing Tatro v. Manor
Care, Inc., 625 N.E.2d 549, 552-53 (Mass. 1994)).
33
  Helicopteros Nacionales de Colombia S.A. v. Hall, 466 U.S. 408, 414 (1984) (quotations
omitted) (citing Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).
34
     Bristol-Myers, 137 S. Ct. at 779-80.
35
  Fidrych v. Marriot International, Inc., 952 F.3d 124, 131 (4th Cir. 2020); Waldman v.
Palestine Liberation Organization, 835 F.3d 317, 331 (2d Cir. 2016).
36
  Bristol-Myers Squibb, 137 S. Ct. at 1780 (quoting Daimler AG v. Bauman, 571 U.S. 117, 127
(2014)).
37
   Ford, 141 S. Ct. at 1025 (quoting Bristol-Myers, 137 S. Ct., at 1780 (other quotations and
citation omitted).



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                                           ARGUMENT

I.        THE COURT HAS PERSONAL JURISDICTION OVER BERETTA

      A. Beretta Is Subject to Personal Jurisdiction Under the Massachusetts Long-Arm
         Statute.

          The Government has plainly met the statutory requirements for personal jurisdiction. As

required by §3(a), Beretta transacted business in Massachusetts, and the Government’s claims

arise from those business transactions.


                  1. Beretta Transacts Business in Massachusetts.

          Beretta does not contest that it regularly conducts business in the Commonwealth. Nor

could it. Beretta regularly advertises, markets, and sells its guns here,38 and enters into

distributorship and sales agreements with Defendant Interstate Arms and more than a dozen

authorized Beretta dealers in Massachusetts.39 Its advertising here includes the type of

inflammatory promotion of its guns as military weapons40 about which the Government

complains.41 And Beretta uses the Commonwealth’s courts, including as a plaintiff.42




38
     Shadowen Decl. ¶ 4.
39
  Id. ¶ 4(a); see also Compl. ¶ 42 (Beretta “purposefully availed itself of the privilege of
conducting activities within Massachusetts, including by systematically serving the gun market
here; regularly marketing and advertising its products here; regularly making substantial sales to
Defendant Interstate Arms in Middlesex County; and imposing the policies and practices by
which it sells its guns to Interstate Arms in Middlesex County and by which Interstate Arms
must sell those guns to dealers throughout the U.S.”).
40
     Id. ¶ 4(e), 4(d), 4(f).
41
     Compl. ¶ 104.
42
     Shadowen Decl. ¶ 5.



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                   2. The Government’s Claims Arise From Beretta’s Massachusetts Contacts.

          The requirement that the Government’s claims “aris[e] from” Beretta’s forum contacts is

“generously construed in favor of asserting personal jurisdiction.”43 It is readily met here. Courts

apply “a ‘but for’ causation test” that asks only whether “the defendant’s contacts with the

Commonwealth constitute[d] the first step in a train of events that result[ed] in the . . . injury.”44

Particularly, “[a] claim arises from a defendant’s transaction of business in the forum State if the

claim was made possible by, or lies in the wake of, the transaction of business in the forum

State.”45

          Beretta imposes its unlawful distribution policies on its dozen gun dealers, and its large

national distributor Interstate Arms, in Massachusetts.46 Gun manufacturers typically make the

vast majority of their sales through distributors, which then transfer the guns to the

manufacturer’s authorized dealers.47 Beretta’s large Massachusetts distributor sells Beretta’s

guns to Beretta’s authorized dealers across the country.48 Consequently, the unlawful distribution

policies that Beretta imposes on distributors and dealers in Massachusetts control gun sales—

including to straw purchasers and other traffickers—not only in Massachusetts but throughout

the nation.


43
  Collision Communications, Inc., 485 F.3d at 292 (citing Workgroup Tech. Corp. v. MGM
Grand Hotel, LLC, 246 F. Supp. 2d 102, 112 (D. Mass. 2003)).
44
  Id. (quoting Access Now, Inc. v. Otter Prods., LLC, 280 F. Supp. 3d 287, 291 (D. Mass.
2017)).
45
  JLB LLC v. Egger, 462 F. Supp. 3d 68, 78 (D. Mass. 2020) (quoting Tatro, 625 N.E. 2d at
553).
46
     Compl. ¶ 42.
47
 For example, Defendant Ruger’s public filings state that it makes 90% of its sales to
wholesalers. Shadowen Decl. ¶ 15(b)(ii).
48
     Id. ¶ 4(c).



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          Despite these facts, Beretta founds its motion on the repeated assertions that the

Government “does not allege that the criminals in Mexico used, received, or purchased the

firearms that Beretta sold in Massachusetts.”49 That assertion is false.

          The Complaint alleges that the policies that Beretta imposed on Massachusetts

distributors and dealers resulted in guns that Beretta sold into Massachusetts “being trafficked

into Mexico and used in criminal activities there, causing the harm about which the Government

complains.”50

          Beretta denies the truth of that well-pled allegation. So the Government offers the Expert

Report of Lucy P. Allen, an economist at the international consulting firm NERA Economic

Consulting and a former member of the Council of Economic Advisers for Presidents George

H.W. Bush and Bill Clinton.51 Among other qualifications, she has been “qualified as an expert

and testified in court on various economic and statistical issues relating to firearms, including the

flow of firearms into the criminal market and analyses of data on firearm traces from the ATF.”52

          The ATF traces crime guns from the last purchaser back up through the chain of

distribution to the dealer and the distributor.53 The last set of that data that is publicly available

shows the percentage of Beretta’s crime guns recovered in Mexico that were traced to




49
   Beretta Mem. 2; see also id. at 4 (“Mexico has not alleged that its claims arise from Beretta
transacting any business or contracting to supply products in Massachusetts.”); id. at 5 (“Plaintiff
does not allege that the guns used in Mexico were sold, received, or purchased in
Massachusetts.”).
50
     Compl. ¶ 42.
51
     Shadowen Decl., Ex. 1, Expert Report of Lucy Allen (“Allen Report”), at ¶ 6.
52
     Allen Report ¶ 5.
53
     Compl. ¶ 92.



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Massachusetts.54 Ms. Allen applies that percentage to estimates of the total number of guns

trafficked into Mexico in the period 2011 – 2020, yielding an estimate of the number of Beretta’s

guns trafficked from Massachusetts to Mexico.55

          The total number of guns annually trafficked from the United States to Mexico will be

the subject of fact and expert discovery later in this litigation. Assuming that the total number is

200,000 annually, Ms. Allen estimates that the number of Beretta guns trafficked from

Massachusetts to Mexico from 2011 to 2020 is in excess of 4,800.56 Assuming the total number

is 730,000 instead of 200,000, she estimates that the number of Beretta guns trafficked from

Massachusetts to Mexico in that period is in excess of 17,000.57

          Thus, the Government’s injuries undoubtedly “lie in the wake of” Beretta’s

Massachusetts contacts. Beretta’s negligent and otherwise unlawful conduct—perpetrated in

Massachusetts with reverberations nationwide—resulted in substantial numbers of its weapons

being trafficked to Mexico. Its forum contacts are, therefore, the “first step[s] in a train of

events” that resulted in the Government’s injuries.

          Beretta tries to dodge these facts by asserting that the Government complains of “failures

to enact policies” and that any such “purported omissions or failures to act” occurred outside

Massachusetts.58 But the Government instead alleges that the distribution system that Beretta has

implemented in Massachusetts actively facilitates the unlawful trafficking of Massachusetts-



54
     Allen Report ¶ 15.
55
 Her number is conservative because the percentage of U.S. retail guns sales made in
Massachusetts has increased substantially in recent years. Id. ¶ 18.
56
     Id. ¶ 19, Chart, Column 3.
57
     Id. ¶ 19, Chart, Column 4.
58
     Beretta Mem. 6.



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origin firearms—sold from Beretta’s Massachusetts distributor and dealers—into Mexico.59 The

Government’s allegations and facts render Defendant’s cases inapt.60

          Equally unavailing is Beretta’s plea that it is not single-handedly responsible for all the

guns trafficked into Mexico.61 But the law under the long-arm statute is well settled and does not

require that Beretta be the sole cause of the Government’s injuries.62 Beretta does not—and

cannot—point to any contrary authority.63


II.       THE COURT’S EXERCISE OF JURISDICTION COMPORTS WITH DUE
          PROCESS

          The First Circuit has synthesized the requirements for establishing specific jurisdiction

consistent with due process as follows:



59
     See, e.g., Compl. ¶¶ 42, 43.
60
  See Beretta Mem. 7, citing Bos. Post Partners II, LLP v. Paskett, No. 15-13804-FDS, 2016
WL 3746474, at *7 (D. Mass. July 8, 2016) (claims arose “solely” out of defendants’ out-of-
forum side dealings and “not out of any business [defendants] may have transacted in
Massachusetts”); Brown v. Aero Glob. Logistics, LLC, No. 19-CV-12153-DJC, 2020 WL
2527799, at *3 (D. Mass. May 18, 2020) (“Plaintiffs have alleged no connection between any
business transactions between Papa’s Dodge and the Parts Depot and the injury suffered
by Brown.”).
61
     See Beretta Mem. 5-6.
62
  See Doull v. Foster, 163 N.E. 3d 976, 986 (Mass. 2021) (“But there is no requirement that a
defendant must be the sole factual cause of a harm.”). In Doull, the Supreme Judicial Court of
Massachusetts recently recognized that in the rare situation—like the present one—where the
harm was produced by multiple sufficient causes the “but-for standard [for factual causation]
does not work and has been altered to avoid unjust and illogical results.” Id. at 984. “A defendant
whose tortious act was fully capable of causing the plaintiff’s harm should not escape liability
merely because of the fortuity of another sufficient cause.” Id. (citing Restatement (Third) of
Torts § 27 cmt. c). To avoid similar “unjust and illogical results” the strict application of the
“but-for” test Beretta calls for should not be applied here. It is sufficient that Beretta’s conduct is
the “first step in a train of events that resulted in the Plaintiff’s injury.” See Tatro, supra.
63
   Beretta Mem. 6 cites Doe v. JetBlueAirways Corp., but the district court’s application of the
“but for” test there does not address whether the defendants were the sole cause of the plaintiffs’
injuries. No. 20-cv-11623, 2021 WL 3375107, at *6 (D. Mass. Aug. 3, 2021).



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          Plaintiffs seeking to establish that a court has specific personal jurisdiction over a
          defendant must show that: (1) their claim directly arises out of or relates to the
          defendant’s forum-state activities; (2) the defendant’s contacts with the forum
          state represent a purposeful availment of the privilege of conducting activities in
          that state, thus invoking the benefits and protections of that state’s laws and
          rendering the defendant’s involuntary presence in that state’s courts foreseeable;
          and (3) the exercise of jurisdiction is ultimately reasonable. [ ] Failure to make
          any one of these showings dooms any effort to establish specific personal
          jurisdiction. [ ]64

          Stated differently, “the constitutional analysis … has three components: relatedness,

purposeful availment, and reasonableness.”65 This inquiry is “highly fact-specific.”66 And “the

test is ‘not susceptible of mechanical application; rather, the facts of each case must be

weighed.’”67 As set out below, the exercise of specific jurisdiction over Beretta here comports

with each of these requirements.


      A. Defendant Beretta purposefully availed itself of the privileges of doing business in
         Massachusetts.

          Like the “transacting business” element under the long-arm statute, Beretta concedes the

“purposeful availment” element under the due process analysis.


      B. The Government’s claims arise out of and relate to Beretta’s forum contacts.

          “The relatedness standard is a ‘flexible, relaxed standard,’… which focuses on the ‘nexus

between the defendant[s’] contacts and the plaintiff’s cause of action.’”68 The Supreme Court



64
  Scottsdale Capital Advisors Corp. v. The Deal, LLC, 887 F.3d 17, 20 (1st Cir. 2018) (citing A
Corp. v. All Am. Plumbing, Inc., 812 F.3d 54, 59 (1st Cir. 2016)).
65
     Knox v. MetalForming, Inc., 914 F.3d 685, 690 (1st Cir. 2019).
66
     Knox, 914 F.3d at 690.
67
  Id. (quoting United Elec., Radio & Mach. Workers of Am. v. 163 Pleasant St. Corp., 960 F.2d
1080, 1089 (1st Cir. 1992)).
68
     Adelson, 510 F.3d at 49 (citations omitted).



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recently “emphasized that the classic formulation of the constitutional relatedness inquiry—

‘arise out of or relate to’—is disjunctive” and “rejected the notion that a ‘strict causal

relationship’ is necessary.”69 As explained in Ford, “[t]he first half of that standard asks about

causation; but the back half, after the ‘or,’ contemplates that some relationships will support

jurisdiction without a causal showing.”70 The Court further observed that, while “the phrase

‘relate to’ incorporates real limits, as it must to adequately protect defendants foreign to a forum,

. . . we have never framed the specific jurisdiction inquiry as always requiring proof of

causation—i.e., proof that the plaintiff’s claim came about because of the defendant’s in-state

conduct.”71

           As in its principal argument under the long-arm statute, the foundation of Beretta’s

argument on “relates to” is its denial of the Complaint’s allegations and the facts. Beretta insists

that “the Complaint lacks any allegations connecting the firearms used in Mexico to the sale of

guns in Massachusetts.”72 The Complaint alleges that the policies that Beretta imposed on

Massachusetts distributors and dealers resulted in guns that Beretta sold into Massachusetts

“being trafficked into Mexico and used in criminal activities there, causing the harm about which

the Government complains.”73 Those allegations are now backed up by the Allen expert report




69
  Chouinard v. Marigot Beach Club and Dive Resort, 2021 WL 2256318, at *8 (D. Mass.
June 3, 2021) (citing Ford, 141 S. Ct. at 1026) (emphasis original); see also Lorenzen v.
Toshiba American Information System, Inc., WL 5051175, at * 1 (D.R.I. 2021) (“The Ford
Motor case expanded the constitutional reach of personal jurisdiction … .”).
70
     Ford, 141 S. Ct. at 1026.
71
     Id.
72
     Beretta Mem. 12.
73
     Compl. ¶ 42.



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and its conclusion that substantial numbers of Beretta guns were trafficked from Massachusetts

into Mexico.74

          Moreover, the relatedness requirement would be met even without this dispositive

allegation and compelling proof. Beretta imposed its policies and practices on distributors

nationwide. Its active indifference to the illegal distribution of its weapons in other U.S. states

combines with its negligence in Massachusetts to inflict an indivisible injury75 on the

Government. This ongoing, in-forum contribution to Beretta’s longstanding head-in-the-sand

approach sufficiently relates to the Government’s claims.76


      C. The Court’s Exercise of Jurisdiction Over Beretta Is Reasonable.

          “[The] concepts of reasonableness must illuminate the minimum contacts analysis.”77 To




74
   This makes Beretta’s reference to Bristol-Myers Squibb Co. v. Superior Ct. of California, San
Francisco Cty., 137 S. Ct. 1773 (2017), beside the point. There the nonresident plaintiffs did not
allege that they obtained the product through a California source, so there was no “adequate link
between the State and the nonresidents’ claims.” Id. at 1781. Nor was it “alleged that BMS
engaged in relevant acts together with [its distributor] in California.” Id. at 1777.
75
   Cf. Chao v. Ballista, 806 F. Supp.2d 358, 378 n. 6 (D. Mass. July 28, 2011) (“Where . . . injury
is indivisible, the defendants are joint and severally liable for the harm—even where they did not
act in concert”); Dan B. Dobbs, The Law of Torts § 174, at 423 (2000) (When the plaintiff
presents evidence that she suffered a single indivisible injury at the hands of two or more
tortfeasors, the burden is shifted to the tortfeasors to show that the plaintiff suffered separable
injuries and that they can be apportioned and attributed separately to the different tortfeasors.”).
76
   See Branch Metal Processing, Inc. v. Boston Edison Co., 952 F. Supp. 893, 910 (D. R. I. 1996)
(“[defendant’s] election to place no restriction on the method or place of disposal is tantamount
to an affirmative choice to submit to jurisdiction wherever these waste products fouled the
environment”); see also Bobzien v. Philip Morris USA Inc., 2021 WL 4147011, at *2 (N.D. Fla.
June 16, 2021) (“On a claim of personal injury to a single plaintiff resulting from long exposure
to tobacco smoke . . . [i]f the defendant provided some of the tobacco in the forum, and that
tobacco contributed to the plaintiff’s indivisible injuries, the court has personal jurisdiction over
the defendant for the whole claim”).
77
     Sawtelle v. Farrell, 70 F.3d 1381, 1394 (1st Cir. 1995).



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guide the reasonableness inquiry and determine whether the exercise of jurisdiction “comport[s]

with fair play and substantial justice,” the Court considers the five “gestalt factors”:

         (1) the defendant’s burden of appearing; (2) the forum state’s interest in
         adjudicating the dispute; (3) the plaintiff’s interest in obtaining convenient and
         effective relief; (4) the judicial system’s interest in obtaining the most effective
         resolution of the controversy; and (5) the common interests of all sovereigns in
         promoting substantive social policies.78

         Notably, “[t]hese factors are ‘not ends in themselves, but they are, collectively, a means

of assisting courts in achieving substantial justice.’”79 And, where the plaintiff—as is the case

here—has established “relatedness” and “purposeful availment,” a defendant “must present a

compelling case that the presence of some other considerations would render jurisdiction

unreasonable.”80 Beretta has not done so.81 On the contrary, these factors demonstrate that

compelling Beretta to appear in Massachusetts is fair and reasonable.


                 1. Defendant’s burden of appearing in Massachusetts

         “For this particular factor to have any significance, ‘the defendant must demonstrate that

[the] exercise of jurisdiction in the present circumstance is onerous in a special, unusual, or other




78
  Composite Co. Inc., v. American Intern. Group, Inc., 988 F. Supp. 2d 61, 73 (D. Mass.
2013) (Saylor, J.) (citing Sawtelle, 70 F.3d at 1394).
79
  Mateo v. University System of New Hampshire, 2019 WL 199890, at *6 (D. Mass. Jan. 14,
2019) (Saylor, J.) (quoting Ticketmaster-New York., Inc. v. Alioto, 26 F.3d 201, 209 (1st Cir.
1994)).
80
   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477 (1985); see also Ticketmaster, 26 F.3d at
210 (“the reasonableness prong of the due process inquiry evokes a sliding scale: the weaker the
plaintiff's showing on the first two prongs (relatedness and purposeful availment), the less a
defendant need show in terms of unreasonableness to defeat jurisdiction. The reverse is equally
true: an especially strong showing of reasonableness may serve to fortify a borderline showing of
relatedness and purposefulness.”).
81
     Indeed, Beretta does not challenge this Court’s jurisdiction based on reasonableness.



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constitutionally significant way.’”82 Beretta is a large multinational corporation with its principal

place of business in Maryland that would not incur a constitutionally significant burden

appearing before this Court.83 Indeed, Beretta has made no attempt to suggest otherwise. This

factor therefore favors a finding of reasonableness.84


                2. Forum state’s adjudicatory interest

         “[T]he purpose of [this] inquiry is not to compare the forum’s interest to that of some

other jurisdiction, but to determine the extent to which the forum has an interest.”85 Here,

Massachusetts has a strong interest in assuring that in-state wholesalers and dealers are properly

monitored and disciplined in their sale and distribution of firearms, particularly insofar as the

failure to do so circumvents this state’s strong gun laws.

         Beretta argues that Massachusetts has no interest in adjudicating an out-of-state dispute

between two non-resident parties where the injury occurred elsewhere, “particularly … given

that the Complaint lacks any allegations connecting the firearms used in Mexico to the sale of

guns in Massachusetts.”86 That argument falls short for multiple reasons.




82
  Hilsinger Co. v. FBW Investments, 109 F. Supp. 3d 409, 429 (D. Mass. 2015) (Saylor, J.)
(quoting Nowak, 94 F.3d at 718); Mateo, 2019 WL 199890, at *6.
83
   See Adams v. New England Scaffolding, Inc., 2016 WL 6514090, at *4 (D. Mass. Oct. 28,
2016) (Saylor, J.) (“[Defendant] does not—nor could it—contend that the burden of appearing in
Massachusetts is significantly more onerous than the burden of appearing in Connecticut … .”).
Certainly, this forum is more convenient to Beretta who is at home in Maryland, than appearing
in California, Arizona, or Texas, from where its weapons were directly trafficked to Mexico.
84
   See Mateo, 2019 WL 199890, at *6 (absence of constitutionally significant burden “favors a
finding of reasonableness”); Adams, 2016 WL 6514090, at * 4 (same).
85
  Sawtelle, 70 F.3d. at 1395 (quoting Foster–Miller, Inc. v. Babcock & Wilcox Canada, 46
F.3d 138, 151 (1st Cir.1995)) (emphasis original).
86
     Beretta Mem. 12.



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         Initially, a plaintiff’s non-residency status does not necessarily weigh against

reasonableness, especially here. True, the caselaw cited by Beretta87 recognizes Massachusetts’

interest in providing its citizens a convenient forum to assert their claims. But that does not

proscribe the sufficiency of other forum interests, like requiring out-of-state manufacturers to

monitor and discipline their in-state distributors and dealers.

         Here the plaintiff is a foreign sovereign and thus a citizen of no U.S. forum. Conditioning

forum interest in a suit brought by a foreign nation on residency in the forum-state would make

no sense and would contravene law permitting a foreign state to “prosecute any civil claim in the

courts of the United States upon the same basis as a domestic corporation or individual might

do.”88

         That the injury occurred elsewhere also does not preclude forum interest. Even while

recognizing that a forum state’s interest is diminished where the injury occurs elsewhere, courts

have nevertheless found interest by the forum sufficient to favor the exercise of jurisdiction. In

Nowak, the First Circuit held that “[w]hile it is true that the injury in this case occurred [in

another country], it is equally true (unlike Sawtelle) that significant events took place in

Massachusetts giving it an interest in this litigation.”89




87
     Beretta Mem. 12.
88
  See Pfizer, Inc. v. Government of India, 434 U.S. 308, 318-19 (1978) (citing 28 U.S.C. §
1332(a)(4) (1976 ed.)).
89
  Nowak v. Tak How Invs., Ltd., 94 F.3d 708, 718 (1st Cir. 1996); see also Moura v. New
Prime, Inc., 337 F. Supp. 3d 87, 98 (D. Mass. 2018) (“Although the accident did not take
place in the Commonwealth, significant events did take place in the forum that led to the
accident and give the forum an interest in adjudicating the dispute.”).



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           Here, as in Nowak, “[Defendant] solicited business in the state.”90 But more than that,

Beretta “impos[ed] the policies and practices by which it sells its guns to Interstate Arms in

[Massachusetts] and by which Interstate Arms must sell those guns to dealers through the U.S.”91

These policies—imposed by Beretta in Massachusetts—are at the heart of the Government’s

allegations regarding Beretta’s illegal conduct.92 Massachusetts most assuredly has a strong

interest in precluding out-of-state gun manufacturers from implementing policies and practices

within its border that flout its guns laws and facilitate the illegal trafficking of firearms into

Mexico. This interest favors the adjudication of these claims in Massachusetts.


                  3. The Government’s interest in obtaining convenient relief

           Regarding the Plaintiff’s interest in obtaining convenient and effective relief, the First

Circuit “has repeatedly observed that a plaintiff’s choice of forum must be accorded a degree of

deference with respect to the issue of its own convenience.”93 Plaintiff is entitled to this

deference regardless of whether it is a citizen of Massachusetts.94 “[J]udicial second guessing” of

a plaintiff’s choice of forum is improper for courts considering jurisdictional issues unless “the


90
     Id.
91
     Compl. ¶ 42.
92
  Beretta falsely claims that “the Complaint lacks any allegations connecting the firearms
used in Mexico to the sale of guns in Massachusetts.” See Beretta Mem. 12. The Complaint
expressly alleges “[Beretta’s] unlawful conduct as alleged throughout this Complaint—
including the sales, marketing, advertising, and distribution policies and practices that
occurred in Middlesex County—resulted in guns that [Beretta] sold to Defendant Interstate
Arms in Middlesex County being trafficked into Mexico and used in criminal activities
there, causing the harm about which the [Plaintiff] complains.” Compl. ¶ 42; see also
“Defendant Interstate has had significant numbers of its guns traced to Mexico. At least 10
other Boston-area dealers had such traces.” Id. ¶ 195.
93
     Sawtelle, 70 F.3d at 1395.
94
  See Katz v. Spiniello Companies, 244 F. Supp. 3d 237, 251 (D. Mass. 2017) (affording
deference to non-resident plaintiff’s choice of forum).



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plaintiff’s supposed convenience ‘seems to be . . . a makeweight,’ contrived purely for strategic

advantage.”95

         The Government chose to litigate at the center of the gun-manufacturing industry and in

the home of one of the principal gun manufacturers and two significant gun distributors. This

Court can grant the injunctive relief that is necessary to stop the flood of Defendants’ crime guns

into Mexico.

         The Government also sued Beretta here so that the Government can pursue its claims

against the defendants in one jurisdiction, instead of filing parallel litigation in multiple forums.

“[P]laintiff’s best option for convenient and efficient resolution of this matter is to have all

[eight] defendants present in the same forum.”96 Indeed, the Court has previously recognized that

this factor favors reasonableness where dismissal would result in “the plaintiff [ ] hav[ing] to

commence parallel litigation in another forum.”97

         Beretta contends that Texas is presumably “a more convenient forum for Plaintiff”

because it is “far closer to Mexico” and where “Plaintiff directly alleges that guns are smuggled

through the southern border,”98 but it does not get to decide this. Plaintiff’s choice of forum with

respect to the issue of its own convenience is given due deference.99 Even so, a closer forum—




95
     Foster-Miller, 46 F.3d at 151 (quoting Ticketmaster, 26 F.3d at 211).
96
     See Composite, 988 F. Supp. 2d at 73.
97
  Id.; see also Pritzker v. Yari, 42 F.3d 53, 64 (1st Cir. 1994) (noting under this factor “the
enormous inconvenience that might result from forcing Pritzker to sue elsewhere—
theoretically, in every jurisdiction in which a financier is located—despite ongoing litigation
in a forum-based court”).
98
     Beretta Mem. 12-13.
99
     Sawtelle, 70 F.3d at 1395, supra.



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especially given the ease of travel and increasingly electronic and telephonic nature of litigation,

including discovery—does not outweigh the convenience of avoiding piecemeal litigation.


                 4. Administration of justice

          The judicial system’s interest in obtaining the most effect resolution of the controversy is

“[u]sually . . . a wash,”100 but “the administration of justice counsels against furcation of the

dispute among several different jurisdictions.”101 “Such a result would both contravene the goal

of judicial economy and conjure up the chimera of inconsistent outcomes.”102 Courts have thus

consistently found the fourth gestalt factor weighs in favor of exercising jurisdiction when doing

so will avoid piecemeal litigation.103 Massachusetts is therefore the most efficient and effective

forum for Plaintiff to litigate its claims.

          Beretta’s claim that this factor weighs against Plaintiff because “the majority of all

witnesses and documents are outside of the Commonwealth” is unavailing.104 “[I]t is too early to

determine where the majority of the witnesses will be located and, given that most of the relevant



100
      Nowak, 94 F.3d at 718.
101
   Moura v. New Prime, Inc. 337 F. Supp. 3d 87, 99 (D. Mass. 2018) (quoting Pritzker, 42
F.3d at 64); see also Bartow v. Extec. Screen and Crushers, Ltd., 53 F. Supp. 2d 518, 528
(D. Mass. 1999) (“Generally this factor is a wash, unless the Court perceives the threat of
piecemeal litigation”).
102
      Id. (quoting Pritzker, 42 F.3d at 64).
103
   See e.g., id. (because of the possibility that piecemeal litigation would result if the court
did not assert jurisdiction, “the most efficient resolution of this litigation is likely in the
Commonwealth); Composite, 988 F. Supp. 2d at 73 (the justice system has an interest in
having “all three defendants present in the same forum” because “[i]f defendants [ ] are
dismissed, plaintiff will have to commence parallel litigation in another forum”); Lewis v.
Dimeo Const. Co., 2015 WL 3407605, at *6 (D. Mass. May 27, 2015) (“insofar as this
factor favors either party, it supports hearing this case in Massachusetts so as to avoid the
possibility of piecemeal litigation”).
104
      See Beretta Mem. 13, n. 4.



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documents are electronic, the physical location of such documents is inconsequential.”105 Even

so, a substantial number of witnesses from the Massachusetts manufacturers and distributors will

likely be in Massachusetts, and likely more so than in Texas where Beretta claims it should be

sued. At most, location of witnesses and documents favors neither party, leaving the interest in a

single forum to tip the scales in favor of exercising jurisdiction.


                 5. Pertinent policy arguments

          For the final “gestalt” factor, the Court “consider[s] the common interests of all

sovereigns in promoting substantive social policies.”106 Certainly, both the U.S. and Mexico

share an interest in ensuring that firearms manufactured and distributed by companies in the U.S.

are not trafficked into Mexico. The Government’s ability, as a foreign sovereign, to seek redress

for devastating injuries caused by the negligence of gun companies in a convenient forum is an

important policy consideration that weighs in favor of jurisdiction, especially where litigating in

that forum does not burden Beretta.107

          Beretta’s assertion that this factor cannot favor jurisdiction because Plaintiff is not a

resident of the forum lacks support. Although the First Circuit case that it points to for support

does indeed note that the policy implicated in that case “is the ability of a state to provide a

convenient forum for its residents in assessing this factor,”108 it does not follow that this is the



105
      See Jagex Ltd. v. Impulse Software, 750 F. Supp. 2d 228, 234 (D. Mass. 2010).
106
      Sawtelle, 70 F. 3d at 1395.
107
    See World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 308-12 (1980) (Brennan,
J., dissenting) (suggesting that the concept of long-arm jurisdiction must adjust as
technological advances blur boundaries between states, and litigation in a “foreign” state no
longer inconveniences a defendant as it did “long ago when communication and travel over
long distances were slow and unpredictable and when notions of state sovereignty were
impractical and exaggerated.”).
108
      See Beretta Mem. 13, n. 4 (relying on Sawtelle, 70 F.3d at 1395).

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only policy consideration relevant to this gestalt factor. Again, Beretta’s suggestion that

jurisdiction is only reasonable here if Plaintiff is a citizen of Massachusetts contravenes

Congress’s explicit grant of diversity jurisdiction to foreign states as Plaintiffs who, as foreign

sovereigns, are clearly not citizens of any forum state in the U.S.


      D. In the Alternative, the Government Requests Jurisdictional Discovery

         The Government has satisfied its burden of establishing a prima facie case of personal

jurisdiction over Beretta. But should the Court require more, the Government respectfully

requests the opportunity to conduct jurisdictional discovery. “[A] diligent plaintiff who sues an

out-of-state corporation and who makes out a colorable case for the existence of in personam

jurisdiction may well be entitled to a modicum of jurisdictional discovery if the corporation

interposes a jurisdictional defense.”109 In determining whether the Government has “diligently

made out a ‘colorable case’ of personal jurisdiction, the Court must determine if [it] ha[s]

‘presented facts to the court which show why jurisdiction would be found if discovery were

permitted.’”110

         Discovery from Beretta, the other Defendants, and major distributors would provide

additional evidence documenting the extent to which guns sold in Massachusetts are trafficked

into Mexico. This would include additional and updated information regarding ATF traces, the

Defendants’ sales to distributors, those distributors’ sales to dealers throughout the nation, and

similar information.




109
  Luxottica Group, S.p.A. v Lee, 2021 WL 3116171, at *3 (D. Mass. 2021) (quoting Sunview
Condo. Ass’n v. Flexel Int’l, 116 F.3d 962, 964 (1st Cir. 1997)).
110
   Sun Life Assur. Co. of Canada v. Sun Bancorp. Inc., 946 F. Supp. 2d 182, 192 (D. Mass 2012)
(Saylor, J.) (quoting Swiss Am. Bank, 274 F.3d at 626).

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                                          CONCLUSION

       To defeat Beretta’s motion challenging personal jurisdiction, the Government need only

establish a prima facie case that jurisdiction exists. It has done so. Beretta’s motion should,

therefore, be denied.



                                 REQUEST FOR ORAL ARGUMENT

              Pursuant to Local Rule 7.1(d), Plaintiff hereby requests oral argument.



Dated: January 31, 2022                               Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I, Steve D. Shadowen, hereby certify that this document was filed with the Clerk of the

Court via CM/ECF. Those attorneys who are registered with the Court’s electronic filing

systems may access this filing through the Court’s CM/ECF system, and notice of this filing will

be sent to these parties by operation of the Court’s electronic filings system.



Dated: January 31, 2022                               Respectfully Submitted,


                                                      /s/ Steve D. Shadowen
                                                      Steve D. Shadowen




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